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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS


                                              )
UNITED STATES OF AMERICA                      )
EX REL. ALFRED J. LONGHI, JR.,                )
                                              )       Civil Action No.
             PLAINTIFF,                       )       H-02-CV-4329
                                              )
             v.                               )       Judge Rainey
                                              )
LITHIUM POWER TECHNOLOGIES, INC.              )
and MOHAMMED ZAFAR A. MUNSHI,                 )       Jury Trial Demanded
                                              )
             DEFENDANTS.                      )
                                              )


                     RELATOR’S FIRST AMENDED COMPLAINT

      On behalf of the United States of America, plaintiff and relator Alfred J. Longhi, Jr.

files this qui tam complaint against defendants Lithium Power Technologies, Inc. and

Mohammed Zafar A. Munshi and alleges as follows:

                          SUMMARY OF THE ALLEGATIONS

      1.     Defendants violated the False Claims Act, 31 U.S.C. § 3729 et seq., by

knowingly (a) presenting or causing to be presented false or fraudulent claims for payment

or approval to the United States, and (b) making, using, or causing to be made or used,

a false record or statement to get a false or fraudulent claim paid or approved by the

United States.

      2.     In particular, defendants knowingly:

             a.     submitted false proposals that misrepresented company capabilities,

key personnel, and the entities that were to perform and did perform work under certain

Government-funded contracts, thereby fraudulently inducing the Government to award
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contracts to defendants;

             b.     submitted false statements and records misrepresenting that efforts

under separate Government contracts were not related or duplicative, thereby fraudulently

inducing the Government to award contracts to defendants;

             c.     submitted false reports to the Government describing work that was

either not performed or performed in connection with other Government contracts;

             d.     submitted to the Government false invoices indicating that work

performed for commercial clients was reimbursable under Government-funded contracts;

             e.     falsified employee time records in order to generate false

documentation to support false invoices submitted for payment to the Government;

             f.     submitted to the Government false invoices seeking payment for

services that were not rendered;

             g.     overcharged the Government for materials, equipment, supplies and

overhead expenses by duplicating the billing for such items on multiple Government

contracts; and

             h.     submitted false records to the Government for approval and payment

under various Government-funded contracts;

             I.     fraudulently diverted funds procured under Government contracts from

their intended purposes to fund defendants’ commercial ventures.

      3.     Defendants’ wrongdoing caused the Government millions of dollars in

damages.




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                                    INTRODUCTION

       4.     This is an action to recover damages and civil penalties on behalf of the

United States of America arising from false or fraudulent claims and statements made or

caused to be made by the defendants to the United States in violation of the False Claims

Act, 31 U.S.C. §§ 3729, et seq. (the “FCA”). The false or fraudulent claims, statements

and records at issue involve payments made under Government-funded research contracts

awarded by the Department of Defense (“DOD”), U.S. Army (“Army”), U.S. Air Force

(“USAF”), Office of the Secretary of Defense (“OSD”), National Aeronautics & Space

Administration (“NASA”), and Missile Defense Agency (“MDA,” formerly known as the

Ballistic Missile Defense Organization (“BMDO”)).

       5.     Originally enacted in 1863, the FCA was substantially amended in 1986 by

the False Claims Amendments Act. The 1986 amendments enhanced the Government’s

ability to recover losses sustained as a result of fraud against the United States.

       6.     The FCA provides that any person who knowingly submits or causes to

submit to the Government a false or fraudulent claim for payment or approval is liable for

a civil penalty of up to $11,000 for each such claim, plus three times the amount of the

damages sustained by the Government. The Act empowers private persons having

information regarding a false or fraudulent claim against the Government to bring an action

on behalf of the Government and to share in any recovery. The complaint must be filed

under seal without service on any defendants. The complaint remains under seal while the

Government conducts an investigation of the allegations in the complaint and determines

whether to join the action.

       7.     Pursuant to the FCA, relator seeks to recover on behalf of the United States

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damages and civil penalties arising from false or fraudulent claims that defendants

submitted or caused to be submitted to Government-funded contracts.

      8.     This action was initially filed by Alfred J. Longhi, Jr. on November 18, 2002.

The United States, pursuant to 31 U.S.C. § 3730(b)(2) and through its recent filing of the

United States’ Complaint, has intervened partially in Longhi’s suit. Pursuant to 31 U.S.C.

§ 3730(c)(3), Longhi has the right to continue the action as to those claims on which the

United States has not intervened. By filing this amended complaint, Longhi is pursuing on

behalf of the United States and himself those claims on which the United States has not

intervened. To the extent that any overlap exists between the claims described in this

amended complaint and those alleged in United States’ Complaint, the United States’

Complaint supersedes this amended complaint.

                                        PARTIES

      9.     Relator Alfred J. Longhi, Jr. (“Longhi”), is a business professional who has

enjoyed a successful career in the field of technical sales for the past 22 years. In 1997,

he assisted defendant Munshi in recruiting investors for defendant Lithium Power

Technologies, Inc. and personally invested a six-figure sum, obtaining an 8.4% share of

the company. In March 2000, buoyed by reports of defendants’ successes, Longhi joined

Lithium Power Technologies as its Vice President for Sales and Marketing, a position that

allowed him to closely observe the company’s performance of Government-funded

contracts. Longhi brings this action for violations of the FCA on behalf of himself and the

United States pursuant to 31 U.S.C. §§ 3730(b)(1) and 3730(c)(3). He has knowledge of

the violations and allegations discussed herein.

      10.    Defendant Lithium Power Technologies, Inc. (“LPT”) maintains its principal

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place of business in Manvel, Texas. The company seeks to design and manufacture

advanced primary and rechargeable lithium-based power sources, electrochemical

capacitors and co-polymer film capacitors for commercial and Government applications.

LPT is trying to bring lighter, denser power sources to cutting-edge medical and defense

applications. The company intends to develop advanced portable power sources, by

focusing primarily on batteries (which provide steady energy over long periods of time) and

secondarily on capacitors (which provide quick-release bursts of power on demand). To

date, the company’s commercial ventures have produced insignificant revenues and LPT’s

existence has been dependent on Government-funded research contracts. The company

employs less than 15 people.

       11.    Defendant Mohammed Zafar A. Munshi (“Munshi”) is LPT’s majority

shareholder, president, chief executive officer, chairman of the board and controlling force.

Dr. Munshi is directly responsible for virtually all of the False Claims Act violations that LPT

has committed.

                               JURISDICTION AND VENUE

       12.    The Court has jurisdiction over the subject matter of this action pursuant to

both 28 U.S.C. § 1331 and 31 U.S.C. § 3732, the latter of which specifically confers

jurisdiction for actions brought pursuant to 31 U.S.C. § 3730.

       13.    The Court has personal jurisdiction over the defendants pursuant to 31

U.S.C. § 3732(a) because the False Claims Act authorizes nationwide service of process

and defendants have sufficient minimum contacts with the United States.

       14.    Venue is proper in this district pursuant to 31 U.S.C. § 3732(a) because the

defendants can be found, reside or transact, or have transacted business in the Southern

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District of Texas and/or acts proscribed by 31 U.S.C. § 3729 occurred in the Southern

District of Texas.

                                     ALLEGATIONS

The Contracts at Issue

       15.    Most of the contracts at issue in this case were awarded to defendants under

the federal Small Business Innovation Research Program (“SBIR”) or similar Government-

funded programs.

       16.    The SBIR program was established by Congress in 1982 to provide

increased opportunities for small businesses to participate in research and development

in order to stimulate technological innovation. The Small Business Administration (“SBA”)

is responsible for establishing SBIR governing policy and for overall program monitoring,

reporting, and analysis. Federal agencies with R&D budgets exceeding $100 million are

required to administer an SBIR program. Each agency administers its own individual

program within the SBA guidelines.

       17.    To obtain an SBIR award, LPT was required to submit a proposal to a

specific Government agency, such as NASA. The agency evaluated the proposal on the

basis of numerous factors, such as small business qualification, degree of innovation,

technical merit, and future market potential. Businesses that receive awards or grants

begin a three-phase program:

       C      Phase I is the startup phase. Awards of up to $70,000 for
              approximately 6 months support exploration of the technical
              merit or feasibility of an idea or technology.

       C      Phase II awards of up to $750,000, for as many as 2 years,
              expand Phase I results. During this time, the R&D work is
              performed and the developer evaluates commercialization

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              potential. Only Phase I award winners are considered for
              Phase II.

       C      Phase III is the period during which Phase II innovation moves
              from the laboratory into the marketplace. No SBIR funds
              support this phase. The small business must find funding in
              the private sector or other non-SBIR federal agency funding.

Awardees are required to enter into a contract with awarding agency that contains specific

representations about the work to be performed, benchmarks and reporting requirements,

and limitations restricting the use of SBIR funds to the intended purposes.

       18.    Defendants’ efforts to defraud the Government occurred in connection with

in excess of ten Government-funded research contracts. The contracts through which

defendants defrauded the Government include, at a minimum, the following:

              a.     Army Phase I – This Phase I USAF contract (No. F08630-8-C-0066-

P0001; Very Thin Film Rechargeable Battery) was funded for approximately $60,438

through the SBIR program. Its purpose was to perform research and development on a

new design of lithium battery that uses thin plastic films for the current collectors and a

solventless polymer electrolyte. Although initially funded by the USAF, the contract was

ultimately administered by the Army and was referred to internally at LPT as the Army

Phase I contract.

              b.     Army Phase II – Funded by the Army (Contract No. DASG60-00-C-

0018; Very Thin Film Rechargeable Battery), this Phase II SBIR contract was awarded to

LPT for approximately $749,148. The objective of the contract was to build upon the

research done in Army Phase I and assess the utility of very thin film ionically conducting

lithium polymer electrolytes and very thin film cathodes in mass manufactured, cost

effective and practical batteries.

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              c.      USAF Capacitor – Awarded to LPT by the USAF (Contract No.

F33615-00-C-2064; ElectroChemical Capacitor), this Phase I SBIR contract was valued

at approximately $64,934.      The objective of the contract was to perform research and

development on a new design of electrochemical battery that yielded the power of a

capacitor but the energy of a battery, creating a hybrid of the two.

              d.      BMDO Phase II – This Phase II SBIR contract was funded by the

Ballistic Missile Defense Organization (Contract No. BMDO-F33615-00-C-2050; High

Density Film Capacitor) for approximately $749,304. The objective of the contract was to

build upon the research done in Phase I to prove if blending polypropylene resin and PVDF

resin would yield a capacitor resin that is dielectrically superior to its constituent parts. The

research would potentially provide power for lasers in the “Star Wars” program.

              e.      MEMs Phase I – This Phase I SBIR was awarded to LPT by the USAF

(Contract No. F33615-C-2048; MicroElectroMechanical (“MEMs”) Phase I) for

approximately $70,000. The objective of the contract was to perform research and

development on a design of lithium battery that uses thin plastic films for the current

collectors and a solventless polymer electrolyte.

              f.      MEMs Phase II – This Phase II SBIR was awarded to LPT to build

upon the research done in Phase I and assess the utility of the very thin film ionically

conducting lithium polymer electrolytes and very thin film anodes/cathodes in mass

manufactured and cost effective batteries.         The contract was funded by the USAF

(Contract No. F33615-01-C-2122; MEMs Phase II) for approximately $749,781.

              g.      NASA NRA – One of LPT’s few non-SBIR contracts, the objective of

this Phase I award was to perform research and development on a design of lithium battery

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that uses thin plastic films for the current collectors, a solventless polymer electrolyte, and

a non-graphitic anode coating. It was awarded to LPT by NASA (NASA Contract No.

NAS3-01189; NASA NRA Polymer Electrolytes) for approximately $497,779.

              h.     NASA SEPU – The objective of this Phase I SBIR was to research and

develop a power unit that incorporated components of a solar power system, battery and

capacitor that could be embedded into the structural panel of a satellite. It was awarded

to LPT by NASA (Contract No. NAS3-01190; Structurally Embedded Power Unit) for

approximately $70,000.

              I.     MDA Lithium Ion Batteries – Awarded by the Missile Defense Agency

(“MDA,” formerly BMDO), this Phase I SBIR was awarded to LPT to research and develop

a lithium battery that uses thin plastic films for the current collectors and a non-graphitic

anode coating. The MDA contract (No. DASG60-02-P-0101;MDA High Capacity Lithium

Ion Batteries) was valued at $69,987 and funded with money provided by the Army.

              j.     Thermal Battery – This Phase I contract was awarded to LPT by the

USAF (Contract No. F33615-02-M-2271; High Capacity Thermal Battery) for $70,000. The

objective of the contract was to develop a new thermal battery based on a high voltage

chemistry that operates at lower temperatures than existing thermal batteries. The battery

was to be lightweight, thermally stable, and capable of delivering twice the energy density

of existing thermal batteries at significantly lower cost.

Defendants’ Schemed to Defraud the Government
From Contract Solicitation Through Completion

       19.    LPT is a young company with no significant commercial business. To fund

the company and keep it afloat, defendants developed an expertise in obtaining


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Government funding.

       20.    Defendants developed a complex scheme designed to “game” the federal

research system in a manner that assured maximum payments in exchange for the

minimum amount of effort. Defendants accomplished this goal primarily by billing the

Government for work that had already been done or was not performed.

       21.    When submitting contract proposals, defendants knowingly submitted false

statements by relying on a mosaic of minor and major misrepresentations to bolster the

strength of their proposals. Defendants misrepresented LPT’s capabilities, its facilities,

and its intent to perform work under certain contracts. Defendants also falsely certified that

the work being solicited was not related to and did not duplicate work performed or solicited

in connection with other federal contracts. In fact, LPT frequently solicited and received

research contracts that, at least in part, were related to or duplicated prior or ongoing work

under other federal contracts.

       22.    Defendants’ misrepresentations during procurement fraudulently induced the

Government to award research contracts to LPT.

       23.    Once LPT was awarded a federal contract under false pretenses, the

defendants schemed to defraud the federal Government further. Defendants billed the

Government for work performed under commercial contracts. They billed the Government

for work performed by employees on other projects and frequently ‘cross-charged’ time

spent on one federal contract to other federal contracts in order to maximize the payments

received under each contract.

       24.    Defendants also fraudulently invoiced the Government multiple times for the

same materials, equipment, supplies and overhead expenses.              If such items were

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legitimately attributable to one Government contract, defendants frequently billed the same

items to the Government multiple times under different contracts funded by different

agencies.

       25.      Defendants also fabricated time charges for defendant Munshi, who was

frequently listed as the “principal investigator” on most of LPT’s federal contracts. Munshi

did little actual work on any particular federal contract, but falsified time charges in order

to obtain payment for services he did not render.

       26.      Defendants further defrauded the Government by the manner in which they

reported performance under their federal contracts. Defendants often reported research

results to the Government that LPT did not have the capability to produce. Such results

were obtained from prior research done by defendant Munshi during previous employment,

stolen from other companies or obtained from a subcontractor. When the work was

obtained from a subcontractor, LPT passed off the research as its own, seeking to fulfill

its contract fraudulently while bolstering the Government’s perceptions about LPT’s

capabilities.

       27.      Under some contracts, defendants merely recycled portions of research and

reports that had already been provided to and paid for by the Government. In such

instances, defendant Munshi would use a word processor to cut-and-paste text and

graphics from one LPT report that had been submitted to one Government agency to

another report destined for a different Government agency. Because each individual

agency administered its own SBIR program, defendants were able to submit without

detection related and duplicate research under similar federal contracts with different

agencies.

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Fraud Under Army Phase I (USAF Contract No. F08630-8-C-0066-P0001)

       28.    Defendants fraudulently induced the Government to award the Army Phase I

contract (USAF Contract No. F08630-8-C-0066-P0001) through a variety of

misrepresentations contained in the contract proposal.          Although some of the

misrepresentations were minor and others were more significant, the pattern of deception

renders LPT’s entire proposal suspect.        Had the Government known about the

misrepresentations, LPT would not have been awarded the contract.

       29.    In January 1998, defendants falsely certified that LPT was incorporated and

a “small business.” LPT further represented that it was “founded” in 1992. However, the

company was not incorporated until May 8, 1998.

       30.    LPT certified in its contract proposal that the company’s address was 3610

Cresswell Court, Missouri City, TX 77459. This false address is actually defendant

Munshi’s home address. LPT attempted to influence Government reviewers into thinking

that LPT was already a viable business entity at a time when its facility was under

construction and months from being complete or operable.

       31.    Defendant Munshi certified that the company was a “socially and

economically disadvantaged business.” This status, by definition, would need to be linked

to defendant Munshi’s status as majority shareholder and as a “socially and economically

disadvantaged” individual. Defendant Munshi did not qualify for the designation, but used

it in order to obtain the contract.

       32.    Defendants represented that Dat Truong, a biomedical engineer, would assist

in the experimental work. Truong was never an employee of LPT and did not work on the

project. The false representation was designed to improve LPT’s chances of being

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awarded the contract.

       33.    Defendants falsely represented that LPT had “cooperative arrangements” that

permitted it to use the laboratories and scientific equipment at the University of Houston

and Polyhedron Laboratories.

       34.    Defendants falsely represented that LPT possessed a “Gamry Potenstiostat

with impedance measurement capabilities from 1 mHz to 5 Khz.”             Such analytical

equipment is extremely useful for research and development of electrochemical cells.

However, LTP never owned this equipment.

       35.    On May 3, 1999, LPT submitted its final Phase I report under this contract.

In it, LPT represented that its work was performed in a “dry room” that met certain low

humidity requirements: “The entire processing and testing work was carried out in a dry-

room (less than 1% relative humidity).” LPT knew this representation to be false. Its dry

room never functioned below 1% relative humidity before November 14, 2000, and

frequently exceeded that standard after that date. The reliability of LPT’s work under this

contract is suspect because it was not performed under the conditions represented.

Fraud Under Army Phase II (Army Contract No. DASG60-00-C-0018)

       36.    Defendants fraudulently induced the Government to award the Army Phase II

contract (Army Contract No. DASG60-00-C-0018) through a variety of misrepresentations

contained in its July 12, 1999 contract proposal. Had the Government known about the

misrepresentations, LPT would not have been awarded the contract.

       37.    Defendants represented that LPT successfully manufactured cells during

Phase I of the contract. The proposal states, “In Phase I we built some preliminary but

simple cells to demonstrate our thin film concept,” representing that the cells

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“demonstrated excellent cycling efficiencies at C/10 and C discharge rates (C represent

[sic] the Ah capacity of the cell).” LPT had never achieved such cycling efficiencies at the

time the proposal was submitted.

       38.     Defendants falsely represented that several people would work on the project

who never did. Defendants represented that Dr. Guoqiang Gao, a scientist, “is expected

to join LPT once the program start [sic]” and stated that Dr. Mary Sukeshini “whom we

would like to hire” was to be included on the project. Upon information and belief,

defendants representations were false because they never intended to hire these

individuals.

       39.     Defendants further misrepresented that Navor Hernandez, an LPT

engineering technician, would staff the contract. Hernandez resigned his employment at

LPT months before the Phase II proposal was submitted.

       40.     Defendants also misrepresented that defendant Munshi would be the

“principal investigator” on this contract when it was known that Munshi would not spend

significant time working on it.

       41.     Defendants also defrauded the Government in the manner by which they

obtained full funding for this contract. Phase II of the contract was approved for limited

funding by the Army through BMDO. Initial funding of $250,000 was provided to LPT but

the remaining $499,000 was withheld contingent upon LPT obtaining matching funds of

$749,000 through cash, in-kind support or self-investment.

       42.     Defendants solicited such in-kind support from NRG Cells in Singapore and

NT Centre for Energy Research at the Northern Territory University in Australia prior to

December 2001. Defendants obtained an “in-kind” commitment letter from the two foreign

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companies to secure the extra $499,000 in contract funding. The foreign companies’

support was, however, contingent on LPT providing them with certain kinds of working

batteries. Unable to produce the required batteries, LPT did not fulfill its obligations to

NRG Cells or the NT Center and, as a result, neither company provided any in-kind

support.

       43.    Defendants falsely represented that LPT had received the promised support

from NRG Cells and the NT Center and concealed from the Government the true facts of

the situation. Had LPT told the Government that it did not receive the in-kind support as

represented, the Government, upon information and belief, would never have provided LPT

with the remainder of the contract funding.

       44.    Because Army Phase I actually was funded by the USAF, the Army’s funding

of Army Phase II presented defendants with ample opportunity to falsify monthly reports.

Because Army contracting personnel were not intimately familiar with the performance and

reporting on Phase I, defendants were able to submit monthly reports on Phase II that

merely duplicated much of the monthly reporting that had already occurred during Phase I.

Consequently, much of the performance reported by defendants during Army Phase II was

false and fraudulent, representing activities that had not taken place or that had already

been reported and billed to the Government.

       45.    LPT’s final report on the Army Phase II contract was submitted on April 18,

2002 and reflects fraud throughout the performance of the contract.

       46.    While defendant Munshi conducted minuscule amounts of direct research

on the contract, defendants falsely billed the Government as if Munshi had performed

substantial work, thereby billing the Government for work not performed.

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       47.    In the Final Phase II report, defendants stated: “We pursued this idea further

in the program since we were able to make PVDF Membranes in thickness of 5-10 um and

successfully used them in small flat cells and in large area wound cells.” Defendants did

not have the capability to produce such PVDF membranes, also known as separators, at

their facility. In fact, Fazlil Coowar was paid by defendants to make the separators while

working in Great Britain as an employee of AEA Technologies, secretly and without his

employer’s knowledge. Coowar was later hired by defendants to work at LPT.

       48.    The report also stated: “We also validated that thin film cells built from

metallized plastic current collectors – again a first – can be cycled as good as those

containing metal substrates for the electrodes.” Defendants knew this to be false, having

been unable to produce plastic cells that cycled the same as ordinary cells at the time the

report was submitted.

       49.    Defendants also misrepresented the cycling testing that LPT performed on

the cells. LPT stated: “Excellent life greater than 900 cycles were demonstrated at the C/2

rate discharge with only 30% loss in the original cell capacity.” LPT did not achieve these

results in the time period represented. LPT did not have the capability to perform this year-

long test. The tests were performed by Coowar while employed Great Britain at AEA

Technologies. Coowar stole the data and test results and provided them to LPT.

       50.    Defendants included Section 3.3.2 in their final report, entitled ”Micro porous

Thin Film PVDF.” The section is fraudulent in its entirety because the work reported was

not performed by LPT but by Coowar while living in Great Britain employed at AEA

Technologies. Coowar pilfered the data for the tests and provided it to defendants Munshi

and LPT for use in falsifying reports to the Government.

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      51.    Defendants’ final report also relies liberally on work performed under other

Government contracts. Defendants falsely presented the research as if it had been fully

performed under the current contract.

      52.    The information reported by defendants in section 3.4.2, entitled “Electrode

Coating on Microcoater,” is fraudulent. The work was previously performed by defendants

for the Army and USAF under the Army Phase I (Contract No. F08630-98-C-0066-P0001),

MEMs Phase I (Contract No. F33615-00-C-2048) and USAF Capacitor (Contract No.

F33615-00-C-2064) contracts.

      53.    Defendants included scanning electron micrographs (“SEM”) that are identical

to the SEMs included in other LPT reports to the Government under the Army Phase I

(Contract No. F08630-98-C-0066-P0001) and MEMs Phase I (Contract No. F33615-00-C-

2048) contracts.

      54.    In the final report on the contract, defendants falsely included a discussion

about and copies of the SEMs. LPT did not have the equipment necessary to produce

such micrographs and did not obtain them in connection with the contract.           Upon

information and belief, defendant Munshi obtained the micrographs during periods of

previous employment.

      55.    Defendants fraudulently described work in section 3.4.1, entitled “Raw

Materials Processing for Composite Electrodes,” that was previously billed to the

Government under the Army Phase I contract (Contract No. F08630-98-C-0066-P0001).

      56.    Defendants falsely submitted section 3.4.6, entitled “Fabrication and

Characterization of Thin Film Lithium Anodes.”       The work described was invoiced

previously to the Government under MEMs Phase I (Contract No. F33615-00-C-2048),

MEMs Phase II (Contract No. F33615-01-C-2122) and NASA NRA (Contract No. NAS3-

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01189).

      57.    Section 3.7, “Cell Fabrication and Testing,” of defendants’ report is almost

entirely taken from work previously performed for the USAF under MEMs Phase I (Contract

No. F33615-00-C-2048).

      58.    Defendants also refer to work performed producing 9um micro porous PVDF

and “Micro porous PVDF polymer membrane developed by Lithium Power.” Although

represented as LPT’s work, these separators were produced in Great Britain by Coowar

while he was employed at AEA Technologies.

      59.    Defendants also falsely reported on the development of PVDF Polymer

Electrolyte. LPT was not able to obtain the substance directly and instead procured it

through Coowar in Great Britain while he worked for AEA Technologies.                 AEA

Technologies was unaware that Coowar was stealing its technology, trade secrets and

materials and providing them to LPT.

      60.    A significant portion of the “Large Area Cells” referenced in the final report

were made not at LPT, but in Great Britain by Coowar. Defendants submitted the cells to

the Army, falsely representing that they had been manufactured by LPT.

      61.    Defendants discussion of Lithium Ion Polymer Cells is false because the cell

was not a polymer but a battery which used a different cathode chemical material called

“LN101.” The LN101 material could not be obtained directly by LPT. Instead, the LN101

was supplied and the battery was made by Coowar in Great Britain while employed at AEA

Technologies.

      62.    Some of the “Cycle Life” data and rate capacity tests presented in the final

report are fabricated or obtained from other sources. Some of the tests were never

performed at LPT.

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      63.    Section 3.8.2 of the final report, entitled “Cost,” was previously reported and

invoiced to the USAF and Army under MEMs Phase I (Contract No. F33615-00-C-2048)

and Army Phase I (Contract No. F08630-98-C-0066-P0001).

      64.    In the report, defendants boasted that they provided 30 batteries to the

Government when the contract only called for 25. However, defendants failed to disclose

that 50% of the batteries delivered under the contract were fraudulently made in Great

Britain at AEA Technologies through the coordinated deception of defendant Munshi and

Coowar.

      65.    The final report also contained false testing and performance data that was

not performed at LPT, but was generated by Coowar when employed by AEA

Technologies.

      66.    Defendants’ fraudulent conduct in connection with the Army Phase II contract

was extensive and damaging to the Government. Every instance of duplicative effort,

contract overlap and work not performed that is discussed above was billed falsely to the

Government as if it originally was being performed under this contract.

Fraud Under USAF Capacitor (USAF Contract No. F33615-00-C-2064)

      67.    Defendants fraudulently induced the Government to award the USAF

Capacitor (USAF Contract No. F33615-00-C-2064) Phase II contract through a variety of

misrepresentations contained in the contract proposal that was submitted to the

Government. Had the Government known about the misrepresentations, LPT would not

have been awarded the contract.

      68.    Defendants misrepresented that they had cooperative arrangements with the

University of Houston, Polyhedron Laboratories, or T/J Technologies regarding the use of



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their labs and equipment. They never did.

        69.     Defendants represented that LPT possessed a Gamry Potentiostat with

impedance measurement capabilities from 1 mHz to 5 kHz. Such an instrument is crucial

to the proper testing of cells, but LPT never had one.

        70.     Defendants misrepresented that defendant Munshi would act as “principal

investigator” and conduct a significant portion of the research on this contract. Defendants

knew at the time that Munshi would perform minuscule “hands-on” or direct research.

        71.     Section 4.5.3 of defendants’ final report, entitled       “Electrochemical

Characterization,” is false or fraudulent because it is relies on tests performed with a

Gamry Potenstiostat that never existed at LPT.

        72.     Although defendant Munshi conducted minuscule “hands-on” or direct

research for this contract, despite his contractual status as its “principal investigator,”

Munshi falsely billed the Government for significant hours on the project that he did not

work.

Fraud Under the BMDO High Energy (Contract No. BMDO-F33615-00-C-2050)

        73.     Defendants fraudulently induced the Government to award the BMDO High

Energy (BMDO Contract No. BMDO-F33615-00-C-2050) Phase II contract through a

variety of misrepresentations contained in LPT’s October 5, 1999 contract proposal. Had

the Government known about the misrepresentations, LPT would not have been awarded

the contract.

        74.     Defendants misrepresented that Navor Hernandez, an LPT engineering

technician, would staff the contract. Hernandez resigned his employment at LPT in May

1999, months before the contract proposal was submitted.



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        75.      Defendants falsely represented that LPT had “cooperative arrangements”

with the University of Houston, Polyhedron Laboratories, Dixie Testing and SCR

Laboratories regarding the use of their laboratories and equipment. LPT never had such

arrangements with any of these entities.

        76.      Defendants falsely represented that LPT possessed a Gamry Potenstiostat

and Arbin 20-channel potentiostat/battery cycler. LPT does not own such equipment.

        77.      Defendants misrepresented that defendant Munshi would act as “principal

investigator” and conduct a significant portion of the research on this contract. Defendants

knew at the time that Munshi would perform minuscule “hands-on” or direct research for

this contract.

        78.      Although defendant Munshi conducted minuscule “hands-on” or direct

research for this contract, despite his contractual status as its “principal investigator,”

Munshi falsely billed the Government for significant hours on the project that he did not

work.

Fraud Under the MEMs Phase I (USAF Contract No. F33615-00-C-2048)

        79.      Defendants fraudulently induced the Government to award the MEMs Phase I

contract (USAF Contract No. F33615-00-C-2048) through a variety of misrepresentations

contained in LPT’s contract proposal.          Had the Government known about the

misrepresentations, LPT would not have been awarded the contract.

        80.      Defendants falsely represented that defendant Munshi, as “principal

investigator” under the contract, would conduct significant “hands-on” or direct research.

At the time, defendants knew that Munshi would spend minuscule amounts of time on the

contract.



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       81.    Much of the research represented as being done under this contract was

actually performed in connection with other Government contracts. LPT’s invoices for such

duplicate work under this contract represent false and fraudulent claims for work that was

not performed.

       82.    In LPT’s Phase I final report, defendants stated, “Our objective in Phase II

will be to reduce the component thickness to about 2 to 5 µ (using either slurry coating

methods or roll-to-roll continuous vacuum deposition techniques) and process electrodes

and electrolytes in long lengths sufficient to wind into full-size batteries of large component

surface area.” The stated objective is nearly identical to the objective of the Army Phase I

(Army Contract No. F08630-8-C-0066-P0001) and Army Phase II (Army Contract No.

DASG60-00-C-0018) contracts.

       83.    Work reported in the final report on substrate development is nearly identical

to research reported under the Army Phase II contract.

       84.    Research discussing the micro-coater development is similar to research for

which the Government was previously invoiced under the Army Phase I and USAF

Capacitor contracts.

       85.    Research discussed in final report Section 3.3.3, entitled “Lithium Anode

Development,” is duplicative of research invoiced under the Army Phase II contract.

       86.    Research reported in the final report Section 3.3.4 on “Physical

Characterization of Electrodes” also was conducted and invoiced to the Government under

the Army Phase II contract. The SEMs presented previously appeared in research

prepared under the Army Phase I and Army Phase II contracts.

       87.    LPT did not have the equipment necessary to produce such micrographs and

did not obtain them in connection with the contract.          Upon information and belief,

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defendant Munshi obtained the SEMs during periods of previous employment and falsely

represented that they had been obtained in connection with work under this contract.

       88.    Final report Section 3.4, entitled “Polymer Electrolyte Design and

Development,” duplicates research for which the Government also paid under the Army

Phase II contract.

       89.    Portions of the research reported in Section 3.5, “Cell Fabrication and

Testing,” were performed previously in connection with the Army Phase II contract.

       90.    Section 3.6, entitled “Design, Cost and Production Models,” was also reported

to the Government under the prior Army Phase I and Army Phase II contracts.

       91.    The conclusions reached in the final report on this contract are based on

previous and concurrent research for which the Government had already paid under the

Army Phase I and Phase II contracts.

       92.    Despite his contractual status as its “principal investigator,” defendant Munshi

conducted minuscule “hands-on” or direct research for this contract. However, defendants

falsely invoiced the Government for Munshi’s time, reporting that Munshi spent far more

hours on the project that he actually did.

Fraud Under the MEMs Phase II (USAF Contract No. F33615-01-C-2122)

       93.    Defendants fraudulently induced the Government to award the MEMs

Phase II contract (USAF Contract No. F33615-01-C-2122) through a variety of

misrepresentations contained in the contract proposal that was submitted to the

Government. Had the Government known about the misrepresentations, LPT would not

have been awarded the contract.

       94.    Defendants falsely represented that defendant Munshi would act as “principal



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investigator” on this contract, when they knew that Munshi would spend minuscule

amounts of time working on the contract.

       95.    In the “key personnel” section of the MEMS Phase II proposal, defendants

identified Dr. Like Xie, a Ph.D. in Materials Science and Engineering, as someone who

“has been interviewed for a senior scientist position and is expected to join LPT once the

program start [sic].” Dr. Xie never accepted a position with LPT, and defendants never had

any intention of having Dr. Xie work on this contract.

       96.    As discussed above, the USAF MEMs Phase I contract was duplicative of

work performed under other Government contracts. As a result, the follow-on MEMs

Phase II contract was built on a foundation of contract duplication.

       97.    The MEMs Phase II contract also overlapped significantly with research

performed under the Army Phase II contract. For instance, in a discussion of the MEMs

Phase I results, defendants copied almost verbatim the language used in discussing the

Army Phase I results that was included in the Army Phase II documentation.

       98.    Defendants described the technical objectives of the Phase II contract in

terms similar to, and sometimes identical to, those used in the Army Phase II proposal.

       99.    Both the MEMs and Army Phase II proposals include a section 4.3 entitled

“Technical Superiority.” Within those sections, defendants included the identical text to

describe how the Phase I and Phase II research was related. Duplication in these sections

demonstrates the identical intent of the two, supposedly unrelated, contracts.

       100.   Further evidence of the significant overlap between the MEMs Phase II and

Army Phase II contracts can be found in the identical manner in which each Phase II

proposal discusses background information relating to the proposed research.

       101.   Section 7.0 of the MEMs Phase II and Army Phase II proposals is entitled

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“Phase II Work Plan.” There is significant duplication between the two work plans,

demonstrating the overlap and duplication between the two contracts.

       102.   The “Related Work” sections in both the MEMs Phase II and Army Phase II

proposals is nearly identical. The MEMs proposal falsely and deceptively omits any

identification and description of the essentially identical “research” invoiced to the

Government under the Army Phase I and Army Phase II contracts.

       103.   Defendants use nearly identical language to describe the technological

significance of the MEMs Phase II and Army Phase II contracts.

       104.   The MEMs Phase II contract proposal’s discussion of Phase I results, section

5.2, entitled “Thin Film Electrode Development,” recounts various processes which LPT

used in completing Phase I of the contract by using nearly identical information that was

provided to the Government in connection the Army Phase I, USAF MEMs Phase I and

USAF Capacitor contracts.

       105.   The significant overlap between this contract and other Government-funded

contracts performed by LPT demonstrates that defendants knowingly defrauded the

Government by proposing duplicate work that enabled defendants to recycle research

performed for one agency to contracts obtained from another agency.

       106.   After the MEMs Phase II contract was awarded to LPT, defendants met their

obligation to file monthly status reports, including in LPT’s monthly reports research results

identical to those that previously had been reported under the Army Phase II contract.

       107.   Defendants’ monthly progress reports also borrowed heavily from monthly

reports submitted in connection with the NASA NRA contract.

       108.   In addition to the fraudulent double-billing that took place in connection with

the duplicative research on this contract, defendants also billed the Government for work

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that was not performed in other ways.

       109.   Despite his contractual status as its “principal investigator,” defendant Munshi

conducted minuscule “hands-on” or direct research for this contract. However, defendants

falsely invoiced the Government for Munshi’s time, reporting that Munshi spent far more

hours on the project that he actually did.

       110.   In monthly report no. 11, defendants presented research as LPT’s own in a

chart entitled, “Capacity Chart FC38d,” that was actually from a test performed and battery

manufactured in Great Britain while Coowar was employed by AEA Technologies.

       111.   In monthly report no. 14, defendants provided charts on “LN 101” that depict

data from cells supposedly produced by LPT. However, the research was actually done

on cathode material made by Coowar in Great Britain while employed at AEA

Technologies.    LPT was not able to find a supplier for the LN 101 material that it

supposedly was able to provide to the Government. The LN 101 contained in the cells

provided to the Government was stolen by Coowar from his former employer.

Fraud Under NASA NRA (NASA Contract No. NAS3-01189)

       112.   Defendants fraudulently induced the Government to award the NASA NRA

contract (Contract No. NAS3-01189) through a variety of misrepresentations contained in

the contract proposal that was submitted to the Government. Had the Government known

about the misrepresentations, LPT would not have been awarded the contract.

       113.   Defendants misrepresented that defendant Munshi would act as “principal

investigator” and conduct a significant portion of the research on this contract. Defendants

knew at the time that Munshi would perform minuscule “hands-on” or direct research.

       114.   Defendants falsely certified that work under the NASA NRA contract was not



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related to or duplicative of work performed under other government research contracts.

       115.   LPT’s proposal for work under the NASA NRA contract (Contract No. NAS3-

01189) duplicates work performed under the USAF MEMs contract and the Army Phase II

contract.

       116.   In the NASA NRA proposal, defendants provide background information

relating to the proposed research that is identical to background information found in

proposals for the Army Phase I and MEMs Phase II contracts.

       117.   Defendants describe the work LPT intends to do using substantively similar

descriptions of its work under other contracts. In particular, the work plan in the NASA

NRA contract is strikingly similar to the work plan in the USAF MEMs Phase II and Army

Phase II contracts.

       118.   Defendants’ proposal for the NASA NRA further uses identical language

concerning substrate development and materials characterization that is also is found in

the Army Phase II and MEMs Phase II contracts.

       119.   Defendants’ description of the tasks that will take place during the first year

of the contract is substantively identical to the schedule identified under the Army Phase II

and MEMs Phase II contracts.

       120.   In addition to duplicating work for which the Government was already billed

through the NASA NRA contract, defendants further billed the Government for work not

performed.

       121.   Although defendant Munshi conducted minuscule “hands-on” or direct

research for this contract, despite his designation as its “principal investigator,” defendants

falsely billed the Government as if Munshi performed the majority of the research.

       122.   Defendants further defrauded the Government by submitting false monthly

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reports describing work that was supposedly performed on the NASA NRA contract.

Although defendants invoiced the Government for such work, the work was never

performed. Instead, defendants copied research results obtained in performing the USAF

MEMs Phase I and II and Army Phase I and II contracts and falsely reported them as if the

results were original research under the NASA NRA contract.

Fraud Under The NASA SEPU (NASA Contract No. NAS3-01190)

       123.   Defendants fraudulently induced the Government to award the NASA SEPU

contract (Contract No. NAS3-01190) through a variety of misrepresentations contained in

the contract proposal that was submitted to the Government. Had the Government known

about the misrepresentations, LPT would not have been awarded the contract.

       124.   Defendants falsely represented that defendant Munshi would act as “principal

investigator” on this contract, when they knew that Munshi would spend minuscule

amounts of time working on the contract.

       125.   In the “key personnel” section of the contract proposal, defendants

represented that “Dr. A.M. Kannan, a post-doctoral fellow at the University of Texas, Austin

will join Lithium Power shortly as a Senior Scientist and be involved in the selection, design

and development of solar cell technology and battery development.” Dr. Kannan was

never employed by LPT and never accepted a position with the company. Defendants

included Kannan’s name to add legitimacy to LPT’s proposal because LPT lacked a

knowledgeable scientist with experience in photovoltaic and solar cells.

       126.   In the Phase I proposal, defendant Munshi certified that “[n]o part of this work

will be subcontracted to an external source and no consultants will be assigned to this

Phase I program.” After the contract was awarded, Munshi immediately subcontracted with



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SpaceWorks, Inc. of Carefree, Arizona to perform most of the research.

       127.   When reporting progress under the contract, LPT never made mention of

SpaceWorks’ involvement and falsely discussed contract performance as if all work had

been performed by LPT directly. In LPT’s final report on the SEPU contract, defendants

falsely stated that “[t]his Phase I SBIR program was conducted by” LPT.

       128.   Because most of the work was performed by SpaceWorks but reported as

LPT’s own, defendants falsely billed the Government for time expended as if Munshi and

other employees had worked on the contract directly. The result is that defendants billed

the Government for time that was not actually incurred on the project.

       129.   In the SEPU final report, defendants reported contract results, at least in part,

by borrowing research conducted by LPT employee Dr. Jonathan Masere under the OSD

contract (Army Contract No. DAAH01-02-C-R117).

Fraud Under MDA High Capacity (MDA/Army Contract No. DASG60-02-P-0101)

       130.   Defendants fraudulently induced the Government to award the MDA High

Capacity contract (MDA/Army Contract No. DASG60-02-P-0101) through a variety of

misrepresentations contained in the contract proposal that was submitted to the

Government. Had the Government known about the misrepresentations, LPT would not

have been awarded the contract.

       131.   Defendants misrepresented that defendant Munshi would act as “principal

investigator” and conduct a significant portion of the research on this contract. Defendants

knew at the time that Munshi would perform minuscule “hands-on” or direct research.

       132.   Defendants falsely certified that work under the NASA NRA contract was not

related to or duplicative of work performed under other government research contracts.

       133.   Defendants’ proposal for the MDA High Capacity contract makes clear that

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the proposed work is largely identical to work performed by LPT and paid for by the

Government under other contracts. Portions of the proposals submitted are identical to

portions of the proposals that defendants submitted in connection with the NASA NRA,

Army Phase I, MEMs Phase I, and MEMs Phase II contracts.

       134.   Defendants falsely represented that there was no prior, current, or pending

contract for similar work. In reality, the research proposed for the MDA High Capacity

contract had, with a few minor deviations, already been performed under portions of Army

Phase I, Army Phase II, MEMs Phase I and MEMs Phase II contracts.

       135.   Although defendant Munshi conducted minuscule “hands-on” or direct

research for this contract, despite his designation as its “principal investigator,” defendants

falsely billed the Government as if Munshi performed the majority of the research.

Fraud Under Thermal Battery (USAF Contract No. F33615-02-M-2271)

       136.   Defendants fraudulently induced the Government to award the Thermal

Battery contract (USAF Contract No. F33615-02-M-2271) through a variety of

misrepresentations contained in its January 15, 2002 contract proposal.              Had the

Government known about the misrepresentations, LPT would not have been awarded the

contract.

       137.   Defendants falsely represented that defendant Munshi would act as “principal

investigator” on this contract, when they knew that Munshi would spend minuscule

amounts of time working on the contract.

       138.   Defendants falsely represented that LPT had “cooperative arrangements” that

permitted it to use the laboratories and scientific equipment at the University of Houston

and Polyhedron Laboratories.



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      139.   Defendants falsely represented that LPT possessed a variety of equipment,

including a Gamry Potenstiostat, when defendants knew that many of the items identified

were never owned by and never existed at LPT. The fabricated equipment list was

intended to improve the chances that LPT’s contract proposal would be accepted.

      140.   Defendants also falsely represented to the Government that the majority of

LPT’s funding was from private sources, apparently attempting to hide the fact that LPT’s

finances are wholly dependent on obtaining a continuing stream of Government funding.

      141.   Although defendant Munshi conducted minuscule “hands-on” or direct

research for this contract despite his designation as its “principal investigator,” Longhi

alleges upon information and belief that defendants falsely billed the Government as if

Munshi performed the majority of the research.

Defendants’ Wrongdoing Infected Virtually Every Proposal
Submitted to and Contract Performed for the Government

      142.   Upon information and belief, relator Longhi alleges that the fraud described

in this complaint is merely a small portion of defendants’ False Claims Act violations.

      143.   Defendants also submitted false and fraudulent statements to the

Government in connection with many contract proposals that did not result in contract

awards or Government funding. Although the Government did not award defendants any

money in connection with such false claims, defendants’ attempted to obtain contract

approvals and payments by submitting false and misleading contract proposals violated

the False Claims Act.

      144.   The examples described in this complaint constitute specific instances of

False Claims Act violations known to relator Longhi.        Based on his knowledge of

defendants’ practices and defendants’ indiscriminate conduct, Longhi alleges upon


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information and belief that defendants committed fraud in connection with virtually every

contract that was awarded to LPT by the Government.

       145.     For instance, LPT’s OSD contract (Contract No. DAAH01-02-C-R117; Battery

for Long Term Storage) was a $70,000 Phase I SBIR funded by the Army to research the

various battery chemistries and the companies that manufactured them to identify the best

available commercial battery.       Although defendant Munshi was not the principal

investigator on the contract, he was intimately involved in the contract’s administration.

Based on his knowledge of how Munshi fraudulently inflated invoices submitted for

Government contracts, Longhi alleges upon information and belief that fraud is likely to

have occurred in connection with the OSD contract.

       146.     LPT obtained two other Government contracts on which it is highly likely,

based upon information and belief and Longhi’s familiarity with defendants’ contracting

practices, that defendants committed fraud and continue to commit fraud. Those contracts

include the Robust Optical Limiter, a Phase I SBIR awarded to LPT by the Army (Contract

No. DASG60-02-P-0013) and the Organic Electrolytes for Thermal Batteries, a Phase I

SBIR awarded to LPT by MDA.

       147.     Upon information and belief, Longhi alleges that defendants routinely billed

the Government for excessive amounts relating to time supposedly spent on contracts by

defendant Munshi. Based on his personal knowledge of Munshi’s work habits and LPT’s

research efforts, Longhi alleges that Munshi rarely, if ever, performed significant hands-on

research in connection with any Government contract. Consequently, Longhi alleges that

most, if not all, of the research efforts personally attributed to defendant Munshi constitute

false claims.

       148.     Based on conversations with defendant Munshi, relator Longhi further alleges

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that defendants submitted false and duplicative claims to the Government for materials,

equipment and supplies used in connection with Government-funded contracts. Materials,

equipment and supplies purchased for use in connection with a specific Government or

commercial project were routinely invoiced in full to the Government under different

contracts, thereby causing the Government to pay for the same materials, equipment and

supplies multiple times.

       149.   Based on conversations with defendant Munshi, relator Longhi further alleges

that defendants submitted false and duplicative claims to the Government for items

included within LPT’s overhead. Upon information and belief, Longhi alleges that overhead

charges incurred by LPT for maintenance, rent, utilities, and administrative expenses were

routinely invoiced the Government under different contracts in sums that, when

aggregated, exceeded LPT’s actual expenses.             As a result, defendants caused

Government to pay for the same overhead expenses multiple times.

Fraud Possibly Committed Under Additional Contracts
Obtained by LPT after the Initial Complaint Was Filed

       150.   In addition to the contracts and proposals identified in the preceding

paragraphs, Longhi alleges upon information and belief that defendants may have

defrauded the government in connection with work performed on an additional ten

contracts. Although defendants’ efforts on these contracts occurred largely or entirely after

Longhi’s employment with LPT ended, Longhi has, with respect to each additional contract

listed below, analyzed publicly-available information and, applying his prior knowledge of

defendants’ wrongdoing, concluded that defendants likely defrauded the government under

these additional contracts. In particular, Longhi determined that the description of the

contract’s objective and work to be performed directly or substantially overlaps with


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research that defendants’ performed for the government or for which the government paid

LPT under one or more other contracts. The additional contracts include:

               a.      Thin Film Power Cells Phase I – This Phase I contract was awarded

to LPT by the MDA for approximately $69, 970 (Contract No. HQ0060-3C-0-096; Thin Film

Power Cells for High Altitude Airships). The objective of this Phase I program is to design

and develop for high altitude airship (HAA) flexible, high energy lithium ion power source

technologies that are versatile, simplistic, low mass, lightweight, long lasting and cost

effective. Longhi alleges upon information and belief that the contract may overlap in

whole or part with the following contracts: Army Phase I (F08630-8-C-0066-P001), Army

Phase II (DASG60-C-0018), MEMS Phase I (F33615-C-2048), MEMS Phase II

(F33615-01-C-2122), NASA NRA (NAS3-01189), MDA High Capacity Lithium Ion

(DASG60-02-P-001) and NASA SEPU (NAS3-01190).

               b.      Thin Film Power Cells Phase I – MDA awarded LPT a $749,500 Phase

II contract for LPT to continue its work on Thin Film Power Cells for High Altitude Airships

(Contract No. HQ0006-04-C-7095). The objective of this contract is to optimize the

chemistry, components and packaging that result in a durable battery for high altitudes with

specific energies greater than 215 WH/kg and cycle life exceeding 500 cycles at 80-90%

depth-of-discharge. Longhi alleges upon information and belief that the contract may

overlap   in   whole    or   part   with   the   following   contracts:   Army    Phase    I

(F08630-8-C-0066-P001),       Army    Phase      II   (DASG60-C-0018),    MEMS    Phase    I

(F33615-C-2048), MEMS Phase II (F33615-01-C-2122), NASA NRA (NAS3-01189), MDA

High Capacity Lithium Ion (DASG60-02-P-001) and NASA SEPU (NAS3-01190).

               c.      New Polymer Dielectrics – Funded by the Office of Secretary of

Defense (OSD), this Phase I SBIR was awarded to LPT for approximately $99,988

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(Contract No. F33615-03-M-2310; New Polymer Dielectrics for Capacitors). Administered

by the Air Force, the objective of the Phase I is to develop a hybrid copolymer dielectric

material based on polyvinylidene fluoride (PVDF) in a solid-solution combination with

polypropylene that provides excellent insulator properties in an intrinsic cell design that

delivers at least 45j/cc and a demonstration of its feasibility in an initial prototype cell that

delivers at lest 10 j/cc at a projected cost per unit performance well below present cost.

Longhi alleges upon information and belief that the contract may overlap in whole or part

with the following contracts: High Energy Density Metallized Film Capacitor – Phase I

(733615-99-C-2959) and High Energy Density Metallized Film Capacitor – Phase II

(F33615-00-C-2050). The contract may also overlap with a $5.2 million contract awarded

by the National Institute of Standards and Technology (NIST) through its Advanced

Technology Program (ATP) to the Advanced Film Capacitor Consortium, which is led by

LPT.

              d.      Organic Electrolytes – This Phase I SBIR contract was awarded to

LPT by the MDA for approximately $69,990 (Contract No. HQ0006-03-C-0015; Organic

Electrolytes for Re-Usable, High Performance Thermal Batteries). The objective of the

contract is to verify that the proposed electrolytes in lithium-metal batteries will increase the

energy density, increase operational life and reduce battery costs. Longhi alleges upon

information and belief that the contract may overlap in whole or part with the following

contracts: High Capacity Thermal Battery – USAF (F33615-02-M-2271) and New Cathode

Materials for High Capacity Thermal Batteries – MDA (HQ0060-3C-0-0095).

              e.      Organic Additives – Funded by the Department of Energy, this Phase

I SBIR contract was awarded to LPT during 2005 (Organic Additives as Redox Shuttles for

Overcharge Protection of Lithium Ion Batteries). The objective of the contract is to develop

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novel organic compounds for overcharge protection in lithium ion batteries to enhance the

safety of large lithium ion batteries during overcharge conditions. Longhi alleges upon

information and belief that the contract may overlap in whole or part with research

published in 1995 by defendant Munshi in the book entitled "Handbook of Solid State

Batteries & Capacitors" and also appears to overlap, at least in part, with the following

contracts: Army Phase I (F08630-8-C-0066-P001), Army Phase II (DASG60-C-0018),

MEMS Phase I (F33615-C-2048), MEMS Phase II (F33615-01-C-2122), NASA NRA

(NAS3-01189), MDA High Capacity Lithium Ion (DASG60-02-P-001) and NASA SEPU

(NAS3-01190).

              f.     New Cathode Materials – LPT was awarded this Phase I contract for

approximately $69,970 by the MDA (Contract No. HQ0060-3C-0-0095; New Cathode

Materials for High Capacity Thermal Batteries) The objective of the contract is to perform

research and development on new designs of cathode materials for lithium thermal

batteries, which when incorporated in cells, yield very high levels of specific power and

specific energy, high reliability, and low cost. Longhi alleges upon information and belief

that the contract may overlap in whole or part with the following contracts: High Capacity

Thermal Battery – USAF (F33615-02-M-2271) and Organic Additives – DOE.

              g.     Carbon Fiber Anodes Phase I – Funded by NASA, this Phase I

contract (Contract No. 02-S4.07-8619; Sn-SnSb Filled Carbon Fiber Anodes for High

Energy Density Lithium Ion Batteries: Phase I) is intended to develop an anode that

exploits the excellent cycle life of carbon fiber and the high gravimetric and volumetric

capacity of the tin based system in a lithium ion battery. Longhi alleges upon information

and belief that the contract may overlap in whole or part with research published in 1995

by defendant Munshi in the book entitled "Handbook of Solid State Batteries & Capacitors"

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and also appears to overlap, at least in part, with the following contracts: Army Phase I

(F08630-8-C-0066-P001),      Army    Phase       II    (DASG60-C-0018),    MEMS    Phase    I

(F33615-C-2048), MEMS Phase II (F33615-01-C-2122), NASA NRA (NAS3-01189), MDA

High Capacity Lithium Ion (DASG60-02-P-001) and NASA SEPU (NAS3-01190).

              h.     Carbon Fiber Anodes Phase II – This Phase II contract (Contract No.

NAS9-03038; Sn-SnSb Filled Carbon Fiber Anodes for High Energy Density Lithium Ion

Batteries: Phase II) was funded by NASA to further optimize the modified carbon fiber

anode to a level where a practical gravimetric capacity of 500-700 mAh/g can be delivered.

Longhi alleges upon information and belief that the contract may overlap in whole or part

with research published in 1995 by defendant Munshi in the book entitled "Handbook of

Solid State Batteries & Capacitors" and also appears to overlap, at least in part, with the

following contracts:     Army Phase I (F08630-8-C-0066-P001), Army Phase II

(DASG60-C-0018),        MEMS      Phase      I       (F33615-C-2048),     MEMS    Phase    II

(F33615-01-C-2122), NASA NRA (NAS3-01189), MDA High Capacity Lithium Ion

(DASG60-02-P-001) and NASA SEPU (NAS3-01190).

              I.     Nanocomposite Cathodes –- Funded by NASA, the objective of this

Phase I SBIR contract (04-1-S4.04-7759 GRC; Carbon-Coated CFx Nanocomposite

Cathodes for High Rate Lithium Primary Batteries) is to create a novel electrode material

that exploits the high gravimetric and volumetric capacity of the carbon monofluoride

nanoparticles with high rate capability coated by an electronically conductive thin-layer of

carbon. Longhi alleges upon information and belief that the contract may overlap in whole

or part with the following contracts: Army Phase I (F08630-8-C-0066-P001), Army Phase

II   (DASG60-C-0018),      MEMS      Phase       I    (F33615-C-2048),    MEMS    Phase    II

(F33615-01-C-2122)

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NASA NRA (NAS3-01189), MDA High Capacity Lithium Ion (DASG60-02-P-001

NASA SEPU (NAS3-01190), Carbon Fiber Anodes Phase I (2-S4.07-8619) and Carbon

Fiber Anodes Phase II (NAS9-03038).

              j.      Battery Optimized – Funded by OSD and administered by the Army,

this Phase II was awarded to LPT for approximately $749,148 (Contract No.

DAAH01-03-C-R189; Battery Optimized for Long Term Storage and Intermittent Use). The

objective of this contract is to perform research and development on primary and

secondary low voltage solid-state lithium batteries incorporating very high capacity

cathodes, such as CFx and polyorganosulfides on metallized plastic film substrates, in

tandem with a room temperature polymer electrolyte that yields energy densities between

250 to 400 Wh/kg, a shelf-life of about 20 years, excellent reliability, and at a relatively low

cost. Longhi alleges upon information and belief that the contract may overlap in whole

or part with the following contracts: Army Phase I (F08630-8-C-0066-P001), Army Phase

II   (DASG60-C-0018),       MEMS      Phase     I    (F33615-C-2048),     MEMS      Phase     II

(F33615-01-C-2122), NASA NRA (NAS3-01189), MDA High Capacity Lithium Ion

(DASG60-02-P-001), NASA SEPU (NAS3-01190), Carbon Fiber Anodes Phase I

(02-S4.07-8619), Carbon Fiber Anodes Phase II (NAS9-03038), Nanocomposite Cathodes

(04-1-S4.04-7759 GRC), High Capacity Thermal Battery – USAF (F33615-02-M-2271);

Organic Additives – DOE and New Cathode Materials (HQ0060-3C-0-0095).

       151.   Had the United States been aware of the conduct alleged in this complaint,

it would not have awarded contracts to LPT.

       152.   Had the United States been aware of the conduct alleged in this complaint,

it would have paid neither for the claims submitted by defendants nor for the services which

LPT was contracted to provide.

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        153.   Because the Government would not have awarded the contracts or paid the

claims, defendants concealed their illegal activities from the Government as a means of

defrauding the Government into paying for claims and services it otherwise would not have

paid.

        154.   At all times relevant to this complaint, it was a violation of federal law to

submit, or cause to submit, a false or fraudulent claim for payment or approval by the

Government.

        155.   At all times relevant to this complaint, it was a violation of federal law to

make, use, or cause to make or use, a false record or statement to get a false or fraudulent

claim paid or approved by the Government.

        156.   At all times relevant to this complaint, it was a violation of federal law to

conspire to get false and fraudulent claims allowed or paid by the United States.

                                COUNTS ONE AND TWO
                                    False Claims Act
                             31 U.S.C. § 3729(a)(1) and (a)(2)

        157.   Relator realleges and incorporates by reference the allegations contained in

Paragraphs 1 through 156 of this amended complaint.

        158.   This is a claim for treble damages and forfeitures under the False Claims Act,

31 U.S.C. §§ 3729, et seq., as amended.

        159.   By virtue of the acts described above, defendants knowingly presented, or

caused to be presented, to the United States Government false or fraudulent claims for

payment or approval.

        160.   By virtue of the acts described above, defendants knowingly made, used or

caused to be made or used false records or statements to get a false or fraudulent claim


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paid or approved by the United States Government.

      161.   By virtue of the acts described above, defendants knowingly concealed the

existence of its improper conduct from the United States Government in order to induce

contract awards and payment of their false or fraudulent claims.

      162.   The United States, unaware of defendants’ wrongdoing or the falsity of the

records, statements or claims made by the defendant, awarded contracts and paid claims

that would not otherwise have been allowed.

      163.   By reason of these approvals and payments, the United States has been

damaged, and continues to be damaged, in substantial amount.


      WHEREFORE, relator requests that judgment be entered in favor of the United

States and relator against defendant, ordering that:

             a.     defendants cease and desist from violating the False Claims Act, 31

U.S.C. § 3729, et seq.;

             b.     defendants pay an amount equal to three times the amount of

damages the United States has sustained because of defendants’ actions, plus a civil

penalty of not less than $5,500, and not more than $11,000 for each violation of 31 U.S.C.

§ 3729;

             c.     relator be awarded the maximum amount allowed pursuant to 31

U.S.C. § 3730(d);

             d.     relator be awarded all costs of this action, including attorneys’ fees and

costs pursuant to 31 U.S.C. § 3730(d); and




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